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                                            EXHIBIT “B”

                                                ARBITRATION

  PLEASE READ THIS PROVISION OF THE AGREEMENT CAREFULLY.

  THIS SECTION PROVIDES THAT DISPUTES MAY BE RESOLVED BY BINDING ARBITRATION.
  ARBITRATION REPLACES THE RIGHT TO GO TO COURT, HAVE A JURY TRIAL OR INITIATE OR
  PARTICIPATE IN A CLASS ACTION. IN ARBITRATION, DISPUTES ARE RESOLVED BY AN
  ARBITRATOR, NOT A JUDGE OR JURY. ARBITRATION PROCEDURES ARE SIMPLER AND MORE
  LIMITED THAN IN COURT. THIS ARBITRATION PROVISION IS GOVERNED BY THE FEDERAL
  ARBITRATION ACT (FAA), AND SHALL BE INTERPRETED IN THE BROADEST WAY THE LAW
  WILL ALLOW.

                                               Covered claims
      •   You or we may arbitrate any claim, dispute or controversy between you and us arising out of or
          related to your account, a previous related account or our relationship (called “Claims”).
      •   If arbitration is chosen by any party, neither you nor we will have the right to litigate that
          Claim in court or have a jury trial on that Claim.

  Except as stated below, all Claims are subject to arbitration, no matter what legal theory they’re based on
  or what remedy (damages, or injunctive or declaratory relief) they seek, including Claims based on
  contract, tort (including intentional tort), fraud, agency, your or our negligence, statutory or regulatory
  provisions, or any other sources of law; Claims made as counterclaims, cross-claims, thirdparty claims,
  interpleaders or otherwise; Claims made regarding past, present, or future conduct; and Claims made
  independently or with other claims. This also includes Claims made by or against anyone connected with
  us or you or claiming through us or you, or by someone making a claim through us or you, such as a co-
  applicant, authorized user, employee, agent, representative or an affiliated/parent/subsidiary company.

                                                 Arbitration limits
      •   Individual Claims filed in a small claims court are not subject to arbitration, as long as the matter
          stays in small claims court.
      •   We won’t initiate arbitration to collect a debt from you unless you choose to arbitrate or assert a
          Claim against us. If you assert a Claim against us, we can choose to arbitrate, including actions
          to collect a debt from you. You may arbitrate on an individual basis Claims brought against you,
          including Claims to collect a debt.
      •   Claims brought as part of a class action, private attorney general or other representative action
          can be arbitrated only on an individual basis. The arbitrator has no authority to arbitrate any claim
          on a class or representative basis and may award relief only on an individual basis. If arbitration
          is chosen by any party, neither you nor we may pursue a Claim as part of a class action or other
          representative action. Claims of 2 or more persons may not be combined in the same arbitration.
          However, applicants, co-applicants, authorized users on a single account and/or related
          accounts, or corporate affiliates are here considered as one person.

                                            How arbitration works
      •   Arbitration shall be conducted by the American Arbitration Association (“AAA”) according to this
          arbitration provision and the applicable AAA arbitration rules in effect when the claim is filed
          (“AAA Rules”), except where those rules conflict with this arbitration provision. You can obtain
          copies of the AAA Rules at the AAA’s website (www.adr.org) or by calling 800-778-7879 (TTY:
          Use 711 or other Relay Service). You or we may choose to have a hearing, appear at any
          hearing by phone or other electronic means, and/or be represented by counsel. Any in-person
          hearing will be held in the same city as the U.S. District Court closest to your billing address.
      •   Arbitration may be requested any time, even where there is a pending lawsuit, unless a trial has
          begun or a final judgment entered. Neither you nor we waive the right to arbitrate by filing or
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            serving a complaint, answer, counterclaim, motion, or discovery in a court lawsuit. To choose
            arbitration, a party may file a motion to compel arbitration in a pending matter and/or commence
            arbitration by submitting the required AAA forms and requisite filing fees to the AAA.
        •   The arbitration shall be conducted by a single arbitrator in accord with this arbitration provision
            and the AAA Rules, which may limit discovery. The arbitrator shall not apply any federal or state
            rules of civil procedure for discovery, but the arbitrator shall honor claims of privilege recognized
            at law and shall take reasonable steps to protect account information and other confidential
            information of either party if requested to do so. The arbitrator shall apply applicable substantive
            law consistent with the FAA and applicable statute of limitations, and may award damages or
            other relief under applicable law.
        •   The arbitrator shall make any award in writing and, if requested by you or us, may provide a brief
            statement of the reasons for the award. An arbitration award shall decide the rights and
            obligations only of the parties named in the arbitration, and shall not have any bearing on any
            other person or dispute.

  ...

                                       Survival and Severability of Terms
  This arbitration provision shall survive changes in this Agreement and termination of the account or the
  relationship between you and us, including the bankruptcy of any party and any sale of your account, or
  amounts owed on your account, to another person or entity. If any part of this arbitration provision is
  deemed invalid or unenforceable, the other terms shall remain in force, except that there can be no
  arbitration of a class or representative Claim. This arbitration provision may not be amended, severed or
  waived, except as provided in this Agreement or in a written agreement between you and us.

                                   Rules for rejecting this arbitration provision
  You may reject this arbitration provision by sending a written rejection notice to us at: P.O. Box 790340,
  St. Louis, MO 63179. Your rejection notice must be mailed within 45 days of account opening. Your
  rejection notice must state that you reject the arbitration provision and include your name, address,
  account number and personal signature. No one else may sign the rejection notice. Your rejection notice
  will not apply to the arbitration provision(s) governing any other account(s) that you have or had with us.
  Rejection of this arbitration provision won’t affect your other rights or responsibilities under this
  Agreement, including use of the account.
